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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
        vs.                                    )
                                               )
Cassie Lynn Packineau,                         )       Case No. 4:13-cr-066-5
                                               )
               Defendant.                      )


        On July 10, 2014, the court issued an order granting defendant’s Motion for Release on

Conditions and releasing her to father’s custody for transport from the Heart of America

Correctional and Treatment Center in Rugby to the Heartview Foundation in Bismarck on July 11,

2014.

        On July 11, 2014, the court was advised that, due to transportation issues, defendant did not

arrive at the Heartview Foundation at the appointed hour and, as a consequence, her admission into

the Heartview Foundation’s inpatient treatment program has been delayed until July 14, 2014.

Consequently, the court ORDERS that defendant report to the Burleigh County Detention Center

in Bismarck by 12:00 p.m., where she will be held in Marshal Service Custody. On July 14, 2014,

the Marshal shall transport defendant to the Heartview Foundation by 9:00 a.m., at which time she

shall be released subject to the conditions set forth in the court’s July 10, 2014, order.

        Dated this 11th day of July, 2014.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
